                Case: 1:15-cr-00260 Document #: 333 Filed: 05/22/19 Page 1 of 12 PageID #:3072



                                 LTNITED STATES DISTRICT COURT
                                                        Northern District of Illinois


              LINITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                          v.
                                                                              Case Number:              I    :   l5-CR-00260(t)
                      DAVID COLLETTI
                                                                              USM Number:               47954-424



                                                                              Eugene Edward Murphy, Jr.
                                                                              Defendant's Attorney



THE DEFENDANT:
I   pleaded guilty to count(s) I of the Indictment.
E                           count(s) which was accepted by the court.
    pleaded nolo contendere to
E   was found guilty on count(s) after a plea of not guilty'

The defendant is adjudicated guilty ofthese offenses:
Title & Section / Nature of Offense                                                                  Offense Ended                Count

l8 U.S.C. $ 1343 Fraud By Wire, Radio, Or Television                                                 12/3112013                   I




The defendant is sentenced as provided in pages 2 through 8 ofthisjudgment. The sentence is imposed pursuant to the Sentencing Reform
Act of I 984.

E ttre defendant   has been found not guilty on count(s)

E Coun(s)        dismissed on the motion of the United States.

It is ordered that the defendant must notifu the United States Attorney for this District within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notifo the court and United States Attorney of material changes in economic.g"ilcumstsece^\
                                                                                                                                  )




                                                                                  Name and Title of Jylee



                                                                                  Date

                                                                                                         n        J1
                                                                                                            t_:   ,!
                    Case: 1:15-cr-00260     Document #: 333 Filed: 05/22/19 Page 2 of 12 PageID #:3073
                                  a Criminal Case
ILND 2458 (Rev. 03/2912018) Judgment in


DEFENDANT: DAVID COLLETTI
CASE NUMBER: 1 :15-CR-00260(1)
                                                               TMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
Forty two (42) months as to count I of the Indictment.

tr        The court makes the following recommendations to the Bureau of Prisons:


tr        The defendant is remanded to the custody of the United States Marshal.

tr        The defendant shall surrender to the United States Marshal for this district:

          tr
     tr        as   notified by the United States Marshal.

     a         The defendant shall surrender for service ofsentence at the institution designated by the Bureau ofPrisons:

          A          before 2:00 pm onBl1l19.

          tr         as   notified by the United States Marshal.

          tr         as   notified by the Probation or Pretrial Services Office.




                                                                      RETURII

I have executed this judgment as follows:




Defendant delivered on                      to                                 al                              ,   with a certified copy of this
judgment.



                                                                                         TJNITED STATES MARSHAL


                                                                                    By
                                                                                         DEPUTY UNITED STATES MARSHAL
                   Case: 1:15-cr-00260 Document #: 333 Filed: 05/22/19 Page 3 of 12 PageID #:3074
ILND 2458 (Rev. 3/2912018) .ludgment in   a   Criminal Case
               ised Release                                                                                                               -   Page 3   of8

DEFENDANT: DAVID COLLETTI
CASENUMBER: I :15-CR-00260(l)

        MANDATORY CONDITIONS OF SUPERVISED RELEASE PURSUANT TO                                                             18 U.S.C $ 3583(d)

Upon release flom imprisonment, you shall be on supervised release for a term of:
Two (2) y€ars o*CountJ of tht*'{ndictment.

            you must report to the probation office in the district to which you          are released within 72 hours of release from the custody of the
Bureau of Prisons. The court imposes those conditions identified by checkmarks below:



During the period ofsupervised release:
A (l) you shall not commit another Federal, State, or local crime.
X (2) you shall not unlawfully possess a controlled substance.
tr (3)                                                          offender rehabilitation program that has been approved by the court, if
   ' ' you shall attend a public, private, or private nonprofit
                                                          a 50-mile radius of your legal residence.       for a first conviction of a
            un upproued program is readily available within                                                 [Use
            domestic violence crime, as defined in S 3561(b).]
tr    (4)   you shall register and comply with all requirements of the Sex Offender Registration and Notification Act (42 U.S.C. S
            r 6er 3).

A (5)       you shall cooperate in the collection of a DNA sample if the collection of such a sample is required by law.
X (6)
   '        you shall refiain from any unlawful use of a controlled substance AND submit to one drug test within l5 days of release on
            iupervised release and at least two periodic tests thereafter, up to I 04 periodic tests for use of a controlled substance during
            .uih y"ur ofsupervised release. [This mandatory condition may be ameliorated or suspended by the court for any defendant
            ifreliable sentencing information indicates a low risk offuture substance abuse by the defendant.]

  DISCRETIONARY CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C                                                                 S   3563(b) AND
                                 18 u.S.c $ 3s83(d)

Discretionary Conditions       The court orders that you abide by the following conditions during the term of supervised release because such
conditions are reasonably
                               -                                          and (aX2XB). (O. and (D): such conditions involve only such
                              related to the factors set forth in $ 3553(aXl)
deprivations ofliberty or property as are reasonably  necessary for the purposes indicated in $ 3553 (aX2) (B). (C). and (D): and such
.orditiont are consistent with any pertinent policy statement issued  by the Sentencing Commission pursuant to 28 U.S.C. 994a.
The court imposes those conditions identified by checkmarks below:



During the period ofsupervised release:
tr    (l)      you shall provide financial support to any dependents iffinancially able.
tr    Q)       you shall make restitution to a victim of the offense under $ 3556 (but not subject to the limitation of $ 3663(a) or
               $   3663A(cXlXA)).
tr    (3)      you shall give to the victims of the offense notice pursuant to the provisions of $ 3555, as follows: 1'**'

tr    (4)      you shall seek lawful employment or pursue conscientiously a course of study or vocational training that will equip you
               for employment. If employed, you must work conscientiously'
tr    (5)      you shill iefrain llom engaging in a specified occupation, business, or profession bearing a reasonably direct relationship
               io the conduct constituting the offense, or engage in such a specified occupation, busilep;, or profession only to a stated
               degree or under stated circumstances; (if checked yes, please indicate restriction(s)1"';'tt', .W.
x     (6)      you shall not knowingly meet, communicate, or interact with any person whom you know to be engaged, or planning to
               be engaged, in criminal activity and            from:     _
               tr    visiting the following type of places; ,=-*.
               8     knowingly meeting or communicating with the following persoxsi W#W,,,f,'                                    F#ffiff
                     *itrsM                   Mrsi, a$flW,U sB                           i$lll@w,;
x0)            you shall refiain from         E   any or   E   excessive use ofalcohol (defined as   I
                                                                                            having a blood alcohol concentration greater
               than 0.08); or E        , or any use ofa narcotic drug or other controlled substance, as defined in $ 102 ofthe Controlled
               Substances Act (21 U.S.C. S 802), without a prescription by a licensed medical practitioner.
a     (8)      you shall refrain fiom possessing a firearm, destructive device, or other dangerous weapon.
tr    (e)      tr    you shall participate, at the direction of a probation officer, in a substance abuse ffeatment program, which may
                     include urine testing up to a maximum of 104 tests per year.
                         Case: 1:15-cr-00260 Document #: 333 Filed: 05/22/19 Page 4 of 12 PageID #:3075
ILND 2458 (Rev. 3/29120t 8) Judgment in          a   Criminal Case
Sheet 3   -         ised Release

DEFENDANT: DAVID COLLETTI
CASE NUMBER: I :15-CR-00260(1)
                    tr   you shall participate, at the direction of a probation officer, in a mental health treatment program, which may include
                         the use of prescription medications.
                    tr   you shall participate, at the direction of a probation officer, in medical care; (if checked yes, please specifo,W;lr'ri'i!,;)
tr (10)             (intermittent confinement):.yorr shall remain in the custody of the Bureau of Prisons during nights, weekends, or other
                    intervals of time, totaling alliili't?;::, lno more than the lesser of one year or the term of imprisonment authorized for the
                    offense], during the firsiyear ofthe term ofsupervised release (provided, however, that a condition set forth in $
                    3563(bXl0) strilt Ue imposed only for a violation of a condition 9f supervised release in accordance with $ 3583(e)(2)
                    and only when facilities are available) for the following period N);=:"'i119.
tr        (ll)      (community confinement): you shall reside at, or participate in the program of a community corrections facility
                                a facility maintained or under contract to the Bureau ofPrisons) for all or part ofthe term ofsupervised
                    iincluding
                    release. for a period of
                                                      ":'il   months.
tr        (12)      you shall      *o.k   in                  service for   1?   hourt as directed by a probation officer.
                                               "o*rnrnity
tr        (13)      you shall reside in the following place or              , orrefrain from residing in a specified place orarea: 'Htl .
                                                                        area:
x         (t4)      you shall refrain fiom knowingly leaving the federal judicial district where you are being supervised, unless
                    granted permission to leave by the court or a probation officer. The geographic area of the Northern District of
                    lllinois iunently consists of the Illinois counties of Cook, DuPage, Grundy, Kane, Kendall, Lake, LaSalle, Will,
                    Boone, Carroll, DeKalb, Jo Daviess, Lee, McHenry, Ogle, Stephenson, Whiteside, and Winnebago.
a         (t5)      you shall report to a probation officer in a manner and frequency as reasonably directed by the court or a probation
                    officer.
A         (   16)   tr you shall permit a probation officer to visit               you   I   at any reasonable time   or E as specified: ,
                            E at home               X at work                                !   at school               E at a community service   location
                            E other reasonable location specified    by a probation officer
                    tr     you   shall permit confiscation ofany   contraband observed in plain view ofthe probation officer.
x         (I   7)   you shall notiry a probation officer within 72 hours of any change in residence, employer, or workplace and, absenl
                    constitutional or other legal privilege, truthfully answer inquiries by a probation officer.
x         (18)      you shall notify a probation officer within 72 hours if arrested by a law enforcement officer.
tr        (le)      (home confinement): you shall remain at your place of residence for a total of
                                                                              to incarceration.]
                                                                                                              months during nonworking hours.
                    [This condition may be imposed only as an alternative
                    tr Compliance with this condition shall be monitored by telephonic or electronic signaling devices (the selection of
                           which shall be determined by a probation officer). Electronic monitoring shall ordinarily be used in connection
                           with home detention as it provides continuous monitoring of your whereabouts. Voice identification may be used
                           in lieu of electronic monitoring to monitor home confinement and provides for random monitoring of your
                           whereabouts. If the offender is unable to wear an electronic monitoring device due to health or medical reasons, it
                           is recommended that home confinement with voice identification be ordered, which will provide for random
                           checks on your whereabouts. Home detention with electronic monitoring or voice identification is not deemed
                           appropriate and cannot be effectively administered in cases in which the offender has no bona fide residence, has a
                           history of violent behavior, serious mental health problems, or substance abuse; has pending criminal charges
                           elsewhere; requires ffequent travel inside or outside the district; or is required to work more than 60 hours per
                            week.
                    tr      You shall pay the cost of electronic monitoring or voice identification at the daily contractual rate, if you are
                            financially able to do so.
                    tr The Court waives the electronic/location monitoring component of this condition.
tr        (20)      you shall comply with the terms of any couft order or order of an administrative process pursuant to the law of a State,
                    tt.," District of Columbia, or any other possession or territory of the United States, requiring payments by you for the
                    support and maintenance of a child or of a child and the parent with whom the child is living.
tr        (21)      (deporfation): you shall be surrendered to a duly authorized official of the Homeland Security Department for a
                    determination on the issue of deportability by the appropriate authority in accordance with the laws under the
                    Immigration and Nationality Act and the established implementing regulations. If ordered deported, you shall not
                    reenter the United States without obtaining, in advance, the express written consent of the Attorney General or the
                    Secretary of the Department of Homeland Security'
x         (22)      you shall satisfy such other special conditions as ordered below.
tr        (23)      (if required to register under the Sex Offender Registration and Notification Act) you shall submit at any time, with or
                    without a warrant, to a search ofyour person and any property, house, residence, vehicle, papers, computer, other
                    electronic communication or data storage devices or media, and effects, by any law enforcement or probation officer
                    having reasonable suspicion concerning a violation of a condition of supervised release or unlawful conduct by you, and
                    by any probation officer in the lawful discharge of the officer's supervision functions (see special conditions section).
                 Case: 1:15-cr-00260 Document #: 333 Filed: 05/22/19 Page 5 of 12 PageID #:3076
tLND 2458 (Re,r.312912018) Judgment in   a   Criminal Case
                                                                                                                                       5 of 8
    -
Sheet 3 ised Release

DEFENDANT: DAVID COLLETTI
CASE NUMBER: I :15-CR-00260(1)
tr Q4) Other:

SPECIAL CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C. 3563(b)(22)                                                      ANd 3583(d)
The court imposes those conditions identified by checkmarks below:



During the term ofsupervised release:
tr    fil     if you have not obtained a high school diploma or equivalent, you shall participate in a General Educational
              Development (GED) p."pu.uiio, course ind seek to obtain u CBp within the first year of supervision.
tr    e)      you shall parricipare in an approved job skilltraining program at the direction of a probation officer within the first 60
               days of placement on suPervision.
tr    (3)     you shail, if unemployed after the first 60 days of supervision, or if unemployed for 60 days after termination or lay-off
              from employment, perform at least 20 hours of community service per week at theiirection of the U.S. Probation Office
              until gainfully employed. The amount of community service shall not exceed tlllll|iEhouts.
tr    @)      you shall not maintain employment where you have access to other individual's personal information, including, but not
              -li1nit.d
                        to, Social Security numbers and credit card numbers (or money) unless approved by a probation officer.
A (5)         you shall not incur new credit charges or open additional lines of credit without the approval of a probation officer unless
              you are in compliance with the financial obligations imposed by this judgment.
A (6)         you shall provide a probation officer with access to any requested financial information necessary to monitor compliance
               with conditions of supervised release.
A e)           you shall notil, the court of any material change in your economic circumstances that might affect your ability to pay
               restitution or special assessments.
A (8)          you shall provide documentation to the IRS and pay taxes as required by law.
tr (9)         you shall participate in a sex offender treatment program. The specific program and provider will be determined by a
               probation officer. You shall comply with all recommended treatment which may include psychological and physiological
               testing. You shall maintain use of all prescribed medications.
               tr You shall comply with the requirements of the Computer and Internet Monitoring Program as administered by the
                       United States Probation Office. You shall consent to the installation of computer monitoring software on all
                       identified computers to which you have access. The software may restrict and/or record any and all activity on the
                       computer, including the capture of keystrokes, application information, Internet use history, email
                       correspondence, and chat conversations. A notice will be placed on the computer at the time of installation to
                       warn others of the existence of the monitoring software. You shall not remove, tamper with, reverse engineer, or
                      in any way circumvent the software.
               tr     The cost of the monitoring shall be paid by you at the monthly contractual rate, if you are financially able, subject
                      to satisfaction of other financial obligations imposed by this judgment.
               tr     You shall not possess or use any device with access to any online computer service at any location (including
                      place of employment) without the prior approval of a probation officer. This includes any Internet service
                      provider, bulletin board system, or any other public or private network or email system.
               tr     You shall not possess any device that could be used for covert photography without the prior approval ofa
                      probation officer.
               tr     You shall not view or possess child pornography. If the treatment provider determines that exposure to other
                      sexually stimulating material may be detrimental to the treatment process, or that additional conditions are likely
                      to assist the treatment process, such proposed conditions shall be promptly presented to the court, for a
                      determination, pursuant to l8 U.S.C. $ 3583(e)(2), regarding whether to enlarge or otherwise modif, the
                      conditions of supervision to include conditions consistent with the recommendations of the treatment provider.
               tr     You shall not, without the approval of a probation officer and treatment provider, engage in activities that will put
                      you in unsupervised private contact with any person under the age of I 8, or visit locations where children
                      regularly congregate (e.g., locations specified in the Sex-Offender Registration and Notification Act.)
               tr     This condition does not apply to your family members:    lTij;11i1i111
                                                                                               tNamesl
               tr     Your employment shall be restricted to the district and division where you reside or are supervised, unless
                      approval is granted by a probation officer. Prior to accepting any form ofemploymentyou shall seek the approval
                      of a probation officer, in order to allow the probation officer the opportunity to assess the level of risk to the
                      community you will pose if employed in a particular capacity. You shall not participate in any volunteer activity
                      that may cause you to come into direct contact with children except under circumstances approved in advance by
                      a probation officer and treatment provider.
                  Case: 1:15-cr-00260 Document #: 333 Filed: 05/22/19 Page 6 of 12 PageID #:3077
ILND 2458 (Rev. 3/2912018) Judgment in   a   Criminal Case
   - Sunervised Release
Sheet 3

DEFENDANT: DAVID COLLETTI
CASENUMBER: 1:15-CR-00260(l)
           tr you shall provide the probation officer with copies of your telephone bills, all credit card statements/receipts, and
                       any other financial information requested.
                tr you shall comply with all state and local laws pertaining to convicted sex offenders, including such laws that
                       impose restrictions beyond those set forth in this order.
tr (10)         you shall pay any financial plnalty that is imposed by this judgment that remains unpaid at the co,m-mencement of the
                ierm of supervised release. Your monthly payment schedule shall be an amount that is at leastgfl}lllllhiiiE or 1#Zo of your
                net monthly income, defined as income net of reasonable expenses for basic necessities such as food, shelter, utilities,
                insurance, and employment-related expenses.
X     (   Il)   you shall not entei inio any agreement to act as an informer or special agent of a law enforcement agency without the
                permission of the court.
          02)   you shall repay the United States "buy money" in the amount of $            which you received during the commission of
tr
                this offense. (The Clerk of the Court shall remit the funds to        (include Agency and Address).)
E (13)          if the probation officer determines that you pose a risk to another person (including an organization or members of the
                community), the probation officer may require you to tell the person about the risk, and you must comply with that
                instruction. Such notification could include advising the person about your record of convictions. The probation officer
                may conJact the person and confirm that you have told the person about the risk.
tr (14) Other: ;j
                 Case: 1:15-cr-00260 Document #: 333 Filed: 05/22/19 Page 7 of 12 PageID #:3078
ILND 2458 (Rev. 312912018) Judgment in   a   Criminal Case
Sheet 5 - Criminal Monetary Penalties

DEFENDANT: DAVID COLLETTI
CASENUMBER: 1 : 1 5-CR-00260(1)
                                                  CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                                   Assessment     IVTA Assessment*                           Fine                  Restitution
TOTALS                                                sr 00.00                    $.00                        s.00               s8.658.302.00



tr    The determination of restitution is deferred until               An Amended Judgment in q Criminal Case 6to ztscl will be entered after such
      determination.
E     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes apartial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. S 3664(D, all nonfederal
      victims must be paid before the United States is paid.
     Restitution of $8,658,302.00 to:

          MILLERCOORS LLC
          250 S. WACKER DR.
          CHICAGO, IL 60606


     tr         Restitution amount ordered pursuant to plea agreement $

     tr         The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
                before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $ 3612(f). All of the payment options on Sheet
                6 may be subject to penalties for delinquency and default, pursuant to l8 U.S.C. S 3612(g).
     X          The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                A               the interest requirement is waived for the restitution amount.

                tr              the interest requirement for     the       is modified as follows:

     tr         The defendant's non-exempt assets, if any, are subject to immediate execution to satisfu any outstanding restitution or fine
                obligations.

     * Justice for Victims of Trafficking Act of 2015, Pub. L. No. I l4-22.
     * Findings for the total amount of losses are required under Chapters 109A, 110, ll0A, and 113A of Title l8 for offenses committed
     on or after September 13, 1994, but before April 23 , 1996.
                    Case: 1:15-cr-00260 Document #: 333 Filed: 05/22/19 Page 8 of 12 PageID #:3079
ILND 2458 (Rev. 03/2912018) Judgment in   a   Criminal Case
Sheet6-Scheduleof
DEFENDANT: DAVID COLLETTI
CASENUMBER: 1 : 15-CR-00260(l)
                                                              SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:


        X      Lump sum payment of $8,758,302.00 due immediately.

               tr        balance due not later       than        , or

               A         balance due in accordance with         E C' E    D,   E   E, or   I   F below; or

B       tr     Payment to begin immediately (may be combined with                  E c, E      D, or   E   F below); or

C       tr     payment in equal (e.g. weekly, monthly, quarterly) installments of $                over a period of          (e.g., monrhs or years), to

               commence         (e.g., 30 or 60 days) after the date of this judgment; or
D       tr     payment in equal         (e.g. weekly, monthly, quarterly) installments of $        over a period of          (e.g., months oryears),to

               commence (e.g., 30 or 60 days) after release fiom imprisonment to a term of supervision; or
E       tr     payment during the term of supervised release will commence within           (e.s., 30 or 60 days) after release from imprisonment.
               The court    will   set the payment plan based on an assessment of the defendant's ability to pay at that time, or
F       [l    Special insffuctions regarding the payment of criminal monetary penalties:
         The defendant shall pay the restitution imposed by this judgment, and that remains unpaid at the commencement of the term of
supervised release, atarateoiul l.urt l0 percent of the defendant's monthly income. Defendant shall pay $100,000.00 within 90 days of
sentencing.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. Att criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

X       Joint and Several
Case Number                                            Total Amount                  Joint and Several                    Corresponding Payee,   if
Defendant and Co-Defendant Names                                                     Amount                               Appropriate
(including defendant number)

15 CR   260-l   David Colletti                           s8,6s8,302.02
15 CR 260-2 Roderick Groetzinger                          s1,935,989.00              $1,935,989.00
l5 CR 260-3 Andrew Yallozzi                               $1,163,223.00              $1,163,223.00



xxsee above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate.**

tr      The defendant shall pay the cost ofprosecution.


tr      The defendant shall pay the following court cost(s):


x       The defendant shall forfeit the defendant's interest in the following property to the United States: See Final Order of Forfeiture.


payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and couft cost.
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 Case: 1:1-5-cr-00260 Document #: 331 Filed: 05/16/l-9 Page 1 of 3 PagelD #:3068



                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLTNOIS
                                   EASTERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
               V.                              )        No.   15 CR   260-l
                                               )
                                               )        Judge Jorge L. Alonso
DAVID COLLETTI                                 )

                              FINAL ORDER OF FORFEITURE

       This cause comes before the Court on motion of the United States for entry of a final

order of forfeiture as to specific property pursuant to the provisions of Title 18, United States

Code, Section 981(aXlXC), Title 28, United States Code, Section 2461(c), and Fed. R. Crim. P.

32.2,the Court being fully informed hereby finds as follows:

       (a)     On May 5, 2015, an indictment was returned charging defendant DAVID

COLLETTI with wire fraud in violation of 18 U.S.C. $ 1343. The indictment sought forfeiture to

the United States of certain property pursuantto the provisions of l8 U.S.C. $ 981(aXlXC) and

28 U.S.C. $ 2a6l(c);

       (b)     On May 4,2016, pursuant to Fed R. Crim. P. I l, defendant DAVID COLLETTI

entered a voluntary plea of guilty to the indictment;

       (c)     Pursuant   to the terms of his plea agreement, defendant DAVID COLLETTI

agreed that the following property is subject to forfeiture as property that constitutes or is derived

from proceeds traceable to his wire fraud violation;

               1.      a2014 Acura MDX, VIN: 5FRYD4H49EB008384; and

               2.      a2009 Acura TL, VIN: 19UUA96589A006515;

       (d)     On July 7, 2016, this Court entered a preliminary order of forfeiture forfeiting all

right, title, and interest of defendant DAVID COLLETTI in the foregoing property. Pursuant to
Case: 1:15-cr-00260 Document #: 333 Filed: 05/22/19 Page 10 of 12 PageID #:3081
  Case: 1:15-cr-00260 Document #: 331 Filed: 05/16/19 Page 2 ol3 PagelD #:3069



the provisions of    2l   U.S.C. S 853(g), as incorporated by 28 U.S.C. 5 2461(c), the Court directed

the United States Marshal Service, to seize and take custody of the foregoing property for

disposition according to      law. Further, pursuant to the provisions of 21 U.S.C. S 853(nXl),          as


incorporated by 28 U.S.C. g 2461(c), the United States was ordered to publish notice                of   its

intention to dispose of the foregoing property according to law;

       (e)       Pursuant to the provisions of      2l   U.S.C. S 853(n)(1), as incorporated by 28 U.S.C.


$ 2461(c), beginning on August        17   , 2Ol6 and continuing for at least 30 consecutive days, notice

of the criminal forfeiture was      posted on an      official govemment intemet site. Pursuant to the

provisions of   2l   U.S.C. $ 853(n)(1), as incorporated by 28 U.S.C. $ 2461(c), no other parties are

known to have an interest in the property and accordingly, no other parties were personally

served with a copy of the notice of forfeiture and the preliminary order of forfeiture;

       (0        Pursuantto the provisions of       2l   U.S.C. S 853(g), as incorporated by 28 U.S.C.    $


2461(c), the Court directed the United States Marshal Service, to seize and take custody of the

foregoing property for disposition according to           law.   Further, pursuant to the provisions of 21

U.S.C. g 853(n)(1), as incorporated by 28 U.S.C. 5 2461(c), the United States was ordered to

publish notice of its intention to dispose of the foregoing property according to law;

       (g)       Pursuant to the provisions of 21 U.S.C. S 853(nX1), as incorporated by 28 U.S.C.

S 2461(c), beginning on October 19,2Ol3 and continuing for at least 30 consecutive days,
                                                                                         notice

of the criminal forfeiture was       posted on an     official government intemet site. Pursuant to the

provisions of   2l   U.S.C. S 853(n)(l), as incorporated by 28 U.S.C. $ 2461(c), no other parties are

known to have an interest in the property and accordingly, no other parties were personally

served with a copy of the notice of forfeiture and the preliminary order of forfeiture;
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       (h)     To date, no additional petitions have been filed requesting a hearing to adjudicate

an interest in the foregoing property and the time in which to do so has expired.

       Accordingly, it is hereby ORDERED, ADJUDGED and DECREED:

          1.   That, pursuant to the provisions of 18 U.S.C. $ 981(a)(1XC), 28 U.S.C. $ 2461(c),

and Fed. R. Crim. P.32.2, all right, title, and interest of defendant   DAVID COLLETTI and any

third party is hereby forfeit to the United States of America for disposition according to law;

          2.   That, pursuant to the provisions of 21 U.S.C. S 853(n)(7), as incorporatedby 28

U.S.C. 5 2461(c), following entry of this order, the United States shall have clear title to the

foregoing real property and shall dispose of the property according to law;

          3.   This Court shall retain jurisdiction in this matter to take additional action and

enter further orders as necessary to implement and enforce this forfeiture order.




ENTERED:




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                                              JORGE L. ALONSO
                                              United States District Judge
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